Case 2:18-cv-01269-JLS-JCG Document 35-1 Filed 04/20/18 Page 1 of 6 Page ID #:1751




    1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
          A Limited Liability Partnership
    2     Including Professional Corporations
      CHARLES L. KREINDLER, Cal. Bar No. 119933
    3 ckreindler@sheppardmullin.com
      JENNIFER G. REDMOND, Cal. Bar No. 144790
    4 jredmond@sheppardmullin.com
      TRAVIS J. ANDERSON, Cal. Bar No. 265540
    5 tanderson@sheppardmullin.com
      333 South Hope Street, 43rd Floor
    6 Los Angeles, California 90071-1422
      Telephone: 213.620.1780
    7 Facsimile: 213.620.1398
    8 Attorneys for Non-Parties Global-IP
      Cayman and Global IP USA, Inc.
    9
   10                                UNITED STATES DISTRICT COURT
   11                              CENTRAL DISTRICT OF CALIFORNIA
   12
   13 STM ATLANTIC N.V., a Dutch                          Case No. 2:18-cv-01269-JLS-JCG
      company; STM GROUP, INC., a
   14 Delaware corporation; EMIL                          [PROPOSED] ORDER
      YOUSSEFZADEH, an individual; and                    REGARDING GLOBAL-IP
   15 UMAR JAVED, an individual,                          CAYMAN AND GLOBAL IP USA,
                                                          INC.’S EVIDENTIARY
   16                      Plaintiffs,                    OBJECTIONS TO THE
                                                          DECLARATION OF EMIL
   17           v.                                        YOUSSEFZADEH SUBMITTED IN
                                                          SUPPORT OF PLAINTIFF’S
   18 DONG YIN DEVELOPMENT                                MOTION FOR JUDICIAL
      (HOLDINGS) LIMITED, a Hong Kong                     DETERMINATION
   19 unlimited company; CHINA ORIENT
      ASSET MANAGEMENT                                    [FILED UNDER SEAL PER COURT
   20 (INTERNATIONAL) HOLDING                             ORDER OF APRIL 2, 2018]
      LIMITED, a Hong Kong limited
   21 company; and LUDWIG CHANG, an                       HEARING
      individual,,                                        Judge: Hon. Josephine L. Staton
   22                                                     Date: May 11, 2018
                   Defendants.                            Time: 2:30 p.m.
   23                                                     Place: Courtroom 10A
   24
   25
   26
   27
   28
                                                       -1-               Case No. 2:18-cv-01269-JLS-JCG
        SMRH:486068782.1         [PROPOSED] ORDER RE EVIDENTIARY OBJECTIONS TO THE DECLARATION OF
                                                                                EMIL YOUSSEFZADEH
Case 2:18-cv-01269-JLS-JCG Document 35-1 Filed 04/20/18 Page 2 of 6 Page ID #:1752




    1           Nonparties Global-IP Cayman and Global IP USA, Inc. have objected to the
    2 Declaration of Emil Youssefzadeh submitted in support of Plaintiffs’ Motion for
    3 Judicial Determination. As to those objections, the Court hereby rules as follows:
    4
    5             MATERIAL OBJECTED TO:        GROUNDS FOR OBJECTION:             RULING ON
                                                                                  OBJECTION:
    6
    7    1.      Emil Decl. ¶ 18               Inadmissible Hearsay       Sustained: ___
                 “Mr. Javed and I were also    (Fed. R. Evid. 801); Lacks
    8            told that Mr. Fan was         Foundation (Fed. R. Evid.
                 Dong Yin’s attorney.”         602)                       Overruled: ___
    9
   10    2.      Emil Decl. ¶ 23:              Lacks Foundation (Fed. R. Sustained: ___
                 “Dong Yin was to provide      Evid. 602); Improper      Overruled: ___
   11            the debt financing to the     Legal Conclusion
                 investor, and was not to
   12            have any direct
                 involvement with GIP-
   13            Cayman to avoid export
                 control law compliance
   14            issues.”

   15    3.      Emil Decl. ¶ 29:              Lacks Foundation (Fed. R. Sustained: ___
                 “As stated above, their       Evid. 602); Improper      Overruled: ___
   16            role in the transaction was   Legal Conclusion
                 supposed to be limited to
   17            providing debt financing
                 to Bronzelink.”
   18            Emil Decl. ¶ 44:              Improper Legal
         4.                                                              Sustained: ___
                 “Because the October 1,       Conclusion; Improper
   19            2016 contracts each had       Opinion of a Lay Witness; Overruled: ___
   20            60-day notice                 Best Evidence Rule (Fed.
                 provisions, my                R. Evid. 1002)
   21            resignations did not
                 become effective until on     Mr. Youssefzadeh’s June
   22            or about August 25, 2017.     26, 2017 email to Tony
                 Accordingly, I continued      Wong, Shiwen Fan,
   23            to actively serve as the      Shiyue Liu, Zheng Wang,
                 CTO and Chairman of the       Bahram Pourmand, and
   24            Management Committee          Umar Javed regarding his
                 until on or about August      resignation specifically
   25            16, 2017. I also continued    provided that he would
                 to serve as the acting CEO    immediately be relieved of
   26            until the re-appointment of   his duties. See
                 Mr. Pourmand as CEO on        Compendium of Exhibits,
   27            or about July 17, 2017.”      Exh. G.

   28    5.      Emil Decl. ¶ 51:              Lacks Foundation (Fed. R. Sustained: ___
                                               Evid. 602)
                                                    -2-               Case No. 2:18-cv-01269-JLS-JCG
        SMRH:486068782.1     [PROPOSED] ORDER RE EVIDENTIARY OBJECTIONS TO THE DECLARATION OF
                                                                           EMIL YOUSSEFZADEH
Case 2:18-cv-01269-JLS-JCG Document 35-1 Filed 04/20/18 Page 3 of 6 Page ID #:1753




    1            “It soon became clear that                                  Overruled: ___
                 Mr. Luo had not
    2            previously met Mr. Fan. I
                 later found out from Mr.
    3            Luo that he had been
                 selected and invited to join
    4            the GIP-Cayman Board by
                 a senior executive at Dong
    5            Yin.”
    6    6.      Emil Decl. ¶ 51:            Lacks Foundation (Fed. R. Sustained: ___
                 “Mr. Wong and Ms. Liu       Evid. 602)
    7            routinely appeared to act
                 at Mr. Fan’s direction and                            Overruled: ___
    8            did his bidding; neither of
                 them seemed to exercise
    9            any meaningful
                 independence from Mr.
   10            Fan in making decisions as
                 members of the GIP
   11            Cayman Board.”
   12    7.      Emil Decl. ¶ 51:               Lacks Foundation (Fed. R. Sustained: ___
                 “During these meetings,        Evid. 602); Vague and
   13            Mr. Fan and Mr. Wong           Ambiguous
                 made statements revealing                                Overruled: ___
   14            that they were acting at
                 Dong Yin’s direction
   15            when it came to the
                 Satellite Project, and Mr.
   16            Yui did not behave as the
                 owner of a company that
   17            had just invested $175
                 million in GIP-Cayman.”
   18
         8.      Emil Decl. ¶ 51:               Lacks Foundation (Fed. R. Sustained: ___
   19            “Additionally, Mr. Wong        Evid. 602)                Overruled: ___
                 also flew Mr. Chen to
   20            Hong Kong for interviews
                 with Dong Yin before
   21            allowing the GIP-Cayman
                 Board to consider, and
   22            ultimately approve, his
                 hiring.”
   23
         9.      Emil Decl. ¶ 51:           Lacks Foundation (Fed. R. Sustained: ___
   24            “Mr. Wong requested a      Evid. 602)
                 two-week delay before any
   25            Board resolutions were                               Overruled: ___
                 approved, apparently so
   26            that he and Mr. Fan would
                 have time to present those
   27            resolutions to Dong Yin
                 for approval before any
   28
                                                   -3-               Case No. 2:18-cv-01269-JLS-JCG
        SMRH:486068782.1     [PROPOSED] ORDER RE EVIDENTIARY OBJECTIONS TO THE DECLARATION OF
                                                                            EMIL YOUSSEFZADEH
Case 2:18-cv-01269-JLS-JCG Document 35-1 Filed 04/20/18 Page 4 of 6 Page ID #:1754




    1            contemplated Board
                 action.”
    2
         10.     Emil Decl. ¶ 52:              Inadmissible Hearsay           Sustained: ___
    3            “We asked Luo to have         (Fed. R. Evid. 801);
                 this memorandum               Irrelevant (Fed. R. Evid.
    4            prepared so that counsel’s    401)                           Overruled: ___
                 legal advice could be
    5            presented to Bronzelink
                 and Dong Yin…”
    6
         11.     Emil Decl. ¶ 60:              Lacks Foundation (Fed. R. Sustained: ___
    7            “Julian Zhao also resigned    Evid. 602); Vague and     Overruled: ___
                 from the GIP-Cayman           Ambiguous; Improper
    8            Board of Directors, which     Opinion of a Lay Witness
                 added to the governance       (Fed. R. Evid. 701)
    9            and compliance
                 problems.”
   10
         12.     Emil Decl. ¶ 70, in its       Inadmissible Hearsay       Sustained: ___
   11            entirety                      (Fed. R. Evid. 801); Lacks Overruled: ___
                                               Foundation (Fed. R. Evid.
   12                                          602)
   13    13.     Emil Decl. ¶ 79               Improper Legal            Sustained: ___
   14            “As stated above, our         Conclusion; Improper
                 resignations became           Opinion of a Lay Witness;
   15            effective on or about         Best Evidence Rule (Fed. Overruled: ___
                 August 25, 2017, and we       R. Evid. 1002)
   16            continued to be actively
                 involved in the               Mr. Youssefzadeh’s June
   17            management of CIP-            26, 2017 email to Tony
                 Cayman until on or about      Wong, Shiwen Fan,
   18            August 16, 2017.”             Shiyue Liu, Zheng Wang,
                                               Bahram Pourmand, and
   19                                          Umar Javed regarding his
                                               resignation specifically
   20                                          provided that he would
                                               immediately be relieved of
   21                                          his duties. See
                                               Compendium of Exhibits,
   22                                          Exh. G.

   23    14.     Emil Decl. ¶ 96:              Improper Legal                 Sustained: ___
                 “I did not believe that the   Conclusion                     Overruled: ___
   24            email was a privileged
                 communication.”
   25
         15.     Emil Decl. ¶ 99, in its       Inadmissible Hearsay           Sustained: ___
   26            entirety                      (Fed. R. Evid. 801)            Overruled: ___
   27
   28
                                                    -4-               Case No. 2:18-cv-01269-JLS-JCG
        SMRH:486068782.1      [PROPOSED] ORDER RE EVIDENTIARY OBJECTIONS TO THE DECLARATION OF
                                                                             EMIL YOUSSEFZADEH
Case 2:18-cv-01269-JLS-JCG Document 35-1 Filed 04/20/18 Page 5 of 6 Page ID #:1755




    1    16.     Emil Decl. ¶ 100:            Inadmissible Hearsay           Sustained: ___
                 “Mr. Chang stated that he    (Fed. R. Evid. 801)
    2            had been in contact with
                 Dong Yin, and Dong Yin                                      Overruled: ___
    3            representatives, including
                 Mr. Dong, Mr. Long, Mr.
    4            Zeng, and others, and had
                 read both the Milbank
    5            Memo and the Chen
                 Memo.”
    6
         17.     Emil Decl. ¶ 101:            Lacks Foundation (Fed. R. Sustained: ___
    7            “Sidley had represented      Evid. 602)                Overruled: ___
                 Bronzelink in its
    8            investment in GIP-
                 Cayman; it was not acting
    9            as Bronzelink’s ITAR
                 counsel, and did not
   10            represent GIP-Cayman or
                 GIP-USA in any
   11            capacity.”
   12    18.     Emil Decl. ¶ 102, in its     Inadmissible Hearsay           Sustained: ___
                 entirety                     (Fed. R. Evid. 801)
   13
                                                                             Overruled: ___
   14
   15    19.     Emil Decl. ¶ 104:         Inadmissible Hearsay              Sustained: ___
                 “Both consultants         (Fed. R. Evid. 801)               Overruled: ___
   16            confirmed to me that they
                 had read the Milbank
   17            Memo and the Chen
                 Memo carefully. They told
   18            us that Dong Yin would
                 reward us if we were
   19            willing to back off and
                 drop the compliance
   20            issues.”

   21    20.     Emil Decl. ¶ 105:            Lacks Foundation (Fed. R. Sustained: ___
                 “Ms. Li was permitted to     Evid. 602)                Overruled: ___
   22            attend the meeting as an
                 observer.”
   23
   24
   25
   26
   27
   28
                                                   -5-               Case No. 2:18-cv-01269-JLS-JCG
        SMRH:486068782.1     [PROPOSED] ORDER RE EVIDENTIARY OBJECTIONS TO THE DECLARATION OF
                                                                            EMIL YOUSSEFZADEH
Case 2:18-cv-01269-JLS-JCG Document 35-1 Filed 04/20/18 Page 6 of 6 Page ID #:1756




    1 Dated: ____________, 2018
    2
    3
    4
                                                         Hon. Josephine L. Staton
    5                                                United States District Court Judge
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                 -6-               Case No. 2:18-cv-01269-JLS-JCG
        SMRH:486068782.1   [PROPOSED] ORDER RE EVIDENTIARY OBJECTIONS TO THE DECLARATION OF
                                                                          EMIL YOUSSEFZADEH
